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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                            BOWLING GREEN DIVISION

ELIZABETH LOY                             )
                                          )
             Plaintiff,                   )
                                          )
v.                                                            1:21-CV-133-GNS
                                          ) Civil Action No. ____________________
                                          )
WESTERN KENTUCKY UNIVERSITY,              )
                                          )
             Defendant.                   )
                                          )
Serve: Hon. Daniel Cameron                )
       Kentucky Attorney General          )
       700 Capital Avenue, Suite 118      )
       Frankfort, KY 40601                )
       ServetheCommonwealth@ky.gov        )
       (via email & certified mail)       )
                                          )
                                          )
                                          )
-AND-                                     )
                                          )
ADAM GARY                                 )
                                          )
             Defendant.                   )
                                          )
Serve: Hon. Andrea Anderson               )
       Asst. General Counsel              )
       Western Kentucky University        )
       1906 College Heights Blvd., #11001 )
       Bowling Green, KY 42101            )
       andrea.anderson@wku.edu            )
       (via email & certified mail)       )
                                          )
                                          )
_________________________________________ )




                                     COMPLAINT




      Comes now the Plaintiff, Elizabeth Loy, by and through counsel, and for her

Complaint against the Defendants, states as follows:
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                        I. PARTIES, VENUE, AND JURISDICTION

1.      That at all relevant times herein Plaintiff, Elizabeth Loy, (hereinafter “Loy” and/or

        “Plaintiff”) was a citizen and resident of Jamestown, Russell County, Kentucky.

2.      That at all relevant times herein, Defendant Western Kentucky University

        (Hereinafter, “WKU” and/or “Defendant”) was and is an agency of the

        Commonwealth of Kentucky, and a public university with its principal place of

        business located at 1906 College Heights Boulevard, Bowling Green, Warren

        County, Kentucky 42101. Pursuant to KRS § 15.020(3), the Attorney General of

        Kentucky has the authority to accept service of a civil lawsuit against an agency of

        the Commonwealth, and under Kentucky Rule of Civil Procedure 4.04(6), any civil

        complaint filed against the Commonwealth of Kentucky or one of its agencies

        must be served upon the Kentucky Attorney General.           Upon information and

        belief, WKU may also be served through the office of its general counsel.

3.      That at all times relevant times herein, Defendant Adam Gary (hereinafter, “Gary”)

        was and is the coach of the WKU Women’s Golf team and an employee, agent, or

        ostensible agent of WKU.       Gary was and is a resident of Warren County,

        Kentucky, residing at 181 Pinehurst Drive, Bowling Green, Kentucky 42103. Gary

        is named as a Defendant in his official capacity pursuant to the Plaintiff’s claims

        under the Rehabilitation Act, (see Count II, paragraphs 54-55 below), and is named

        as a Defendant in his individual capacity pursuant to the Plaintiff’s ancillary state

        law claims (see Counts IV and V, paragraphs 59-75 below). Upon information

        and belief, Gary may be served through the office of WKU’s general counsel.

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4.      Federal causes of action:     This action is brought pursuant to Title II of the

        Americans with Disabilities Act (hereinafter “ADA”), 42 U.S.C. §§ 12131 et seq.;

        and Section 504 of the Rehabilitation Act, (hereinafter “RA”), 29 U.S.C. § 794, both

        of which confer jurisdiction on this Court for claims of ADA and RA discrimination.

        This Court also has subject matter jurisdiction over this matter pursuant to 28

        U.S.C. § 1331, which confers general subject matter jurisdiction on this Court for

        all civil claims arising under the laws of the United States, such as the ADA and

        the RA.

5.      State causes of action: This action is brought pursuant to the Kentucky Civil

        Rights Act (hereinafter “KCRA”), KRS § 344.010 et seq. The Plaintiff also asserts

        common law claims under Kentucky state law for negligence, gross negligence,

        and promissory estoppel.      This Court has supplemental jurisdiction over the

        Plaintiff’s ancillary state law claims pursuant to 28 U.S.C. § 1367(a).

6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) as all of the

        events alleged herein occurred in this District. Further, Defendant Gary resides

        in this District and Defendant WKU has its principal business office in this District

        and thus, resides here pursuant to 28 U.S.C. § 1391 (c)(2); venue is therefore

        proper under 28 U.S.C. § 1391(b)(1).



                                   II. STATEMENT OF FACTS

7.      WKU is an agency of the Commonwealth of Kentucky and a public university

        based in Bowling Green, Kentucky, with a total enrollment of approximately 18,000



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          students.1 WKU is a public entity that receives federal funding. 2 WKU owns,

          funds, and operates a student women’s golf team with a roster of seven to eight

          members. 3 The members of the golf team all have athletic scholarships. The

          internal policy and standard practice for the award of athletic scholarships at WKU

          is as follows: When an athletic scholarship is offered to a student at WKU, that

          scholarship is automatically renewed each year the student is enrolled at the

          university, so long as the student meets certain criteria such as maintaining a

          minimum grade point average, not violating team rules, and not committing

          misconduct or fraud. (See attached exhibits). Renewal of the scholarship is not

          contingent on the student athlete’s performance on the golf course, and the

          scholarship is renewed each year as a matter of course so long as the student

          remains eligible for play under NCAA rules, and does not violate the criteria

          described above. The award may be increased, but may never be decreased

          from year-to-year.

8.        Under the rules promulgated by the National College Athletic Association

          (“NCAA”), a student is eligible to play Division I sports for four years of competition,




1
    See https://www.wku.edu/instres/documents/02_student_profile.pdf
2
  See https://www.wku.edu/news/articles/index.php?view=article&articleid=9729 (“Western Kentucky University
will use a $1.92 million federal grant to improve the health of underserved and vulnerable populations by strengthening
the counseling workforce.” June 17, 2021. See also, https://www.wbko.com/2021/02/26/wku-to-receive-nearly-19-
million-in-funding-from-us-department-of-education/ (“Senator Mitch McConnell announced Friday Kentucky’s
colleges and universities were allocated a total of $269,307,632 to support students and campus communities during
the coronavirus crisis. The federal funding is distributed by the U.S. Department of Education…. Western Kentucky
University will receive the third most funds at nearly 19 million.”) February 26, 2021.
3
    See https://wkusports.com/sports/womens-golf/roster/

                                                           4
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         and receive an athletic scholarship for five years (including a “redshirt” 4 year)

         within five calendar years if they are an undergraduate enrolled full time.

         Graduate students are also eligible to participate within the five-year period. 5

         WKU is a member of the NCAA and adheres to the scholarship rules promulgated

         and enforced by that organization.

9.       Gary is and was at all times referred to herein the head coach of the WKU women’s

         golf team. At all times relevant to the allegations herein, Gary had sole authority

         over the women’s golf team membership, including the ability to “hire” or “fire”

         members of the team at will.6                 Gary had the authority to offer students athletic

         scholarships and to revoke those scholarships. In 2014, when Loy was in eighth

         grade in Jamestown, Kentucky, Gary began recruiting her to enroll at WKU and to

         play on the women’s golf team upon graduation from high school. Throughout

         her years as a high school student at Russell County High School in Jamestown,

         Kentucky, Gary engaged in repeated and ongoing conversations with Loy and her

         parents about Loy attending college at WKU in an attempt to recruit her to play for

         the women’s golf team. Gary made a verbal offer to Loy to attend WKU on a golf

         scholarship when she was a freshman in high school. The offer was made to Loy


4
       See        https://www.lrt-sports.com/blog/redshirt-everything-you-neeto-know-athletes-personal-experiences/
(“Redshirting, at its core, allows student-athletes to maintain athletic eligibility while still reaping the benefits of a
scholarship…. Redshirting allows a student-athlete five years to use four years of athletic eligibility…. According to
the Senior Associate Athletic Director for Compliance, Scott Young, ‘the NCAA has two requirements for a medical
redshirt; the injury must have occurred in the first half of the season, and the athlete must have competed in less than
30 percent of the season. You must provide documentation of the injury, and it must be considered season-ending.’”)
5
 See https://ncaaorg.s3.amazonaws.com/compliance/d1/2021-22/2021-
22D1Comp_SummaryofNCAARegulations.pdf.
6
  Golf team members were and are students of WKU and not employees. The terms “hire” and “fire” in this
context are a shorthand meant to indicate that Coach Gary had the power to offer students membership on the team
and to remove them from the team at will.
                                                            5
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   in person on December 20, 2014, at the E.A. Diddle Basketball Arena on the WKU

   campus when Loy was visiting the school with her family. Gary explained to Loy

   and her parents that if Loy accepted his offer and came to play golf on the WKU

   women’s team, her scholarship would automatically be renewed each year Loy

   was eligible under NCAA rules, (and continued to meet all the criteria referenced

   in paragraph #7 above), and that the amount of scholarship money might be

   increased, but would never be decreased. Gary explicitly stated to Loy and her

   parents that the offer was for four years of eligibility, and never indicated that it was

   a year-by-year offer. Gary repeated this assurance numerous times during his

   communications with Loy while she was in high school. Loy verbally accepted the

   offer to attend WKU and play for the women’s golf team on September 10, 2015.

   Loy accepted the offer in person while meeting with Gary at the Olde Stone Golf

   Course in Bowling Green, where the WKU women’s golf team practices. As part

   of this verbal agreement, Loy agreed not to apply to other schools besides WKU,

   and did not seek admission to any other college or university. Gary’s promise of

   a four-year scholarship that would be automatically renewed for each year Loy was

   eligible to play under NCAA rules was intended by Gary to induce Loy to forego

   from applying to any other schools or to play golf for any competitor. Gary’s

   promise did, in fact, induce Loy to attend WKU and not to apply to any other

   universities. After accepting Gary’s offer, Loy informed coaches from three other

   universities that she rejected their offers for Loy to attend their respective schools

   or play for their golf teams. The coaches and universities whom Loy rejected in

   reliance on Gary’s promise of a four-year automatically renewable WKU

                                           6
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          scholarship were:          Chris Adams at Middle Tennessee State University, Kim

          Goodin at Campbellsville University, and Eric Wyrick at Lindsey Wilson College.

10.       On November 3, 2017, when Loy was a senior in high school, she signed 7 a

          financial aid and scholarship agreement with WKU promising her a total of

          $10,255.00 in scholarship benefits for the 2018-19 school year. The agreement

          was signed on behalf of WKU by Gary, Cindy Burnette (financial aid officer), and

          Autumn Coleman (Chair of the Scholarship Committee). The agreement was

          renewed on May 7, 2019 (for the 2019-20 school year) and again on May 20, 2020

          (for the 2020-21 school year). The sum of $10,255.00 was awarded to Loy each

          year.     (See attached exhibits). Thus, Loy received a total of $30,765.00 in

          scholarship benefits from 2018 to 2020, and expected to receive an additional

          $30,765.00 for her remaining three years of eligibility.8

11.       During Loy’s time as a high school student at Russell County High School, she



7
  The agreement was also signed by Loy’s father in his role as her legal guardian since Loy was only 17 years old at
the time. This document was considered by the parties to be a binding “Letter of Intent” under NCAA rules.
8
    Loy’s scholarship NCAA eligibility is broken down as follows:

2018-19 Freshman year                         Played and exhausted a year of eligibility
2019-20 Sophomore year                        Played, but was granted a “COVID” year (see below explanation)
2020-21 Junior Year                           Had TIA stroke & didn’t play; thus, qualifies for a “redshirt” year
2021-22 Senior Year                           Cut from the team & scholarship revoked

         Thus, under NCAA rules (see paragraph #7 above), Loy still has three remaining years of eligibility to play
Division 1 varsity golf; i.e., she has eligibility remaining for her “redshirt” year, her “senior” year, as well as an
additional “COVID” year that was granted to all college athletes in the 2020 season due to widespread college sports
events cancellations due to the COVID-19 pandemic;
See https://tuftsdaily.com/sports/2021/04/02/ncaa-grants-extra-year-of-eligibility-seniors-contemplate-
their-futures/; See also, https://www.ncsasports.org/coronavirus-sports/ncaa-eligibility-coronavirus (“As
of October, all three Division levels have granted fall and winter sport athletes an extra year of eligibility, whether
they compete in the 2020-21 season or not…. Traditionally, a student-athlete has 5 years to play 4 years of their sport.
An extra year means a current college student-athlete would have 6 years to play their 4 years.”)


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      was an honor student with a perfect 4.0 grade point average. She completed her

      required high school course work early, and took college courses throughout her

      junior and senior years of high school. When she graduated from high school in

      the Spring of 2018, Loy had accumulated 45 hours of college credit which

      transferred to WKU upon enrollment. Thus, when Loy began classes at WKU in

      the fall semester of 2018, she was chronologically a freshman, but academically a

      sophomore scheduled to graduate from college in only three years. Loy explained

      this fact to Gary prior to signing her financial agreement in November of 2017, and

      expressed that she intended to enroll as a graduate student at WKU in the

      department of speech pathology immediately following completion of her

      undergraduate studies. Gary told Loy that was no problem, and that she could

      and would remain on scholarship as a graduate student so long as she remained

      eligible to play under NCAA rules. WKU Athletic Advisor Diana Marshall also

      repeatedly assured Loy that she could continue to play golf for WKU and remain

      on scholarship while in graduate school.

12.   During Loy’s tenure with the WKU women’s golf team, her performance on the golf

      course was outstanding: She had the third lowest scoring average for the season

      by a freshman in the history of WKU women’s golf. She competed in all 10

      tournaments in her freshman year (2018-19), finishing with a stroke average of

      77.0, recorded two top-20 results for intercollegiate tournaments, and recorded

      season lows for 18 holes (70), 36 holes (71-76), and 54 holes (71-76-70). In her

      sophomore year, (2019-20), she competed in four tournaments, including one as

      an individual, finished with a season stroke average of 77.2, and finished 27 th at

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      the prestigious Mary Fossum Intercollegiate Tournament. She made the cut and

      competed at the Tennessee Women’s Open (a professional event), played in the

      junior girls PGA tournament and finished in the top 20, beating several opponents

      who later turned professional. She won the historic Kentucky Women’s Amateur

      Open and won the Capital City Classic Tournament. (see attached exhibits).

13.   Loy’s academic performance was even more impressive than her achievements

      on the golf course. Loy graduated from WKU with a degree in Communications

      Sciences with a perfect 4.0 grade point average after only three years of

      undergraduate courses.       She made the President’s List all three years of

      undergraduate school (including the 2020-21 school year where she missed part

      of the fall semester due to the medical problems discussed below) and was one of

      only 46 recipients of the prestigious “Scholars of the College Award” out of 4,180

      graduates.      She was president of WKU Best Buddies, a philanthropic

      organization supporting individuals with intellectual and developmental disabilities.

      She served in leadership roles in the Fellowship of Christian Athletes and Living

      Hope Baptist Church College Ministry, and was awarded academic achievement

      awards by Conference USA and the Women’s Golf Coaches Association.

14.   During Loy’s tenure with the WKU women’s golf team, she never violated NCAA

      rules, nor any of the team rules or policies articulated in the attached exhibits, and

      was never suspended, reprimanded, or disciplined in any manner.

15.   During Loy’s tenure with WKU women’s golf team (2018-2021), all students on the

      team (except for Loy) had their scholarships automatically renewed each year they

      were eligible under NCAA rules. During this time period, no golf team members

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        (other than Loy) were ever kicked off the team without cause or had their

        scholarships not renewed while they were still eligible to play under NCAA rules.

        During this time period, no golf team member (other than Loy) was ever kicked off

        the team or had her scholarship taken away without cause.

16.     During Loy’s tenure with the WKU women’s golf team, (2018-2021), two students

        named Mary Joiner and Teri Doss completed their undergraduate degrees, and

        were allowed to remain on the team and keep their scholarships while enrolled in

        graduate school at WKU.

17.     During Loy’s tenure with the WKU women’s golf team, (2018-2021), a member of

        the men’s basketball team, Charles Bassey, severely injured his knee during a

        basketball game against Arkansas on December 7, 2019. Bassey was physically

        unable to play basketball for WKU for the remainder of the 2019-20 school year

        due to his injuries. Bassey had knee surgery and extensive physical therapy, and

        received the full support of the WKU athletic staff during that time including one-

        on-one individualized care from WKU trainer John Erwin.                           Bassey’s athletic

        scholarship was renewed for the 2020-21 school year and he was allowed to

        remain on the men’s basketball team, despite the fact that he had missed a number

        of games in both the 2019-20 and 2020-21 school years. Bassey was cleared by

        his doctors to return to the basketball court on November 25, 2020.9

18.     In August of 2020, Loy returned to the WKU campus to begin practice and training

        with the golf team for the fall semester. (This was her junior year chronologically,


9
  See https://www.cbssports.com/college-basketball/news/dribble-handoff-who-will-be-college-basketballs-player-
of-the-year-in-the-2021-22-season/

                                                       10
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          but her senior year in terms of the number of credits she had earned. Loy had

          repeatedly told Gary, members of the athletic training staff, and her teammates

          that she expected to graduate with her bachelor’s degree in the spring of 2021.)

          Prior to August 28, 2020, Loy was in perfect health, with no history or indication

          that she was suffering from any serious or chronic health problems.

19.       On August 28, 2020, at approximately 2:30 p.m., while Loy was participating in a

          study session via Zoom teleconferencing in her apartment off campus, she began

          noticing odd and alarming sensations that seemed to be rapidly increasing in

          severity. She could not understand what her professor was saying, and she

          became numb on the right side of her face and body. She could not walk and she

          was having great difficulty speaking.              Loy, who was studying to be a speech

          pathologist, and who had studied and worked with stroke victims as part of her

          training, immediately suspected that she was having a stroke.                         She got the

          attention of her roommate and desperately communicated what was going on.

20.       Loy was transported to Med Center Health Hospital in Bowling Green where she

          was admitted and subjected to a variety of medical tests. Loy was diagnosed with

          a transient ischemic attack, also known as a “TIA stroke” or “mini-stroke”. A TIA

          stroke has symptoms that are similar to a stroke. However, these symptoms

          normally do not result in permanent damage and many victims make a full

          recovery. 10 However, those who suffer a TIA stroke are at a heightened and




10
     See https://www.mayoclinic.org/diseases-conditions/transient-ischemic-attack/symptoms-causes/syc-20355679

                                                        11
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         ongoing risk of suffering full strokes in the future.11 Following the TIA stroke, Loy

         remained an in-patient in the hospital until August 30, 2020. Loy lost the ability to

         write, speak, walk, or use the bathroom on her own, and these symptoms lingered

         in varying degrees of severity for approximately three weeks following the incident.

         Upon discharge, Loy was referred to physical therapy where she attempted to

         regain her motor skills.

21.      Following her discharge from the hospital, on or about September 1, 2020, Loy

         and her parents met with Gary and athletic trainer John Erwin. Loy informed Gary

         and Erwin that she had suffered a TIA stroke and that she could not play golf for

         the foreseeable future12. She expressed her hope (based on information given to

         her by her physicians) that she would make a swift recovery and eventually return

         to the golf course. In the meantime, Loy expressed that the other golfers were

         her friends and she would still like to attend practice and be there to support her

         teammates. Initially, both Gary and Erwin said that Loy would be allowed to

         attend practices, but a few days later, Erwin reversed course and said that Loy

         would not be allowed to come to practice because it would be a “distraction” to the

         other players.

22.      On or about September 11, 2020, Loy met with WKU team doctor Abigail Debusk

         and signed a release for Debusk to obtain and review all of Loy’s medical records


11
   “About 1 in 3 people who has a transient ischemic attack will eventually have a stroke, with about half occurring
within a year after the transient ischemic attack.” https://www.mayoclinic.org/diseases-conditions/transient-
ischemic-attack/symptoms-causes/syc-20355679; See also https://www.hopkinsmedicine.org/health/conditions-
and-diseases/stroke/risk-factors-for-stroke (“If you have had one or more TIAs, you are almost 10 times more likely
to have a stroke than someone of the same age and sex who has not had a TIA.”)
12
   Loy was still having difficulty speaking normally at this time due to the stroke symptoms, but she was able to
sufficiently communicate the message with aid from her parents.
                                                         12
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         related to the incident. Dr. Debusk described the reason for the visit as “follow up

         after TIA” and assessed the primary reason for the visit as “transient ischemic

         attack”.     Debusk stated, “She was admitted to the hospital on the above date

         after having stroke-like symptoms.” Debusk concluded, “Only after the work up

         planned is done, will I consider her to start progressing activity and golf activity.

         She was on board with the plan. Our plan is to go slow this fall and plan a goal of

         getting back for spring should nothing else occur to hinder this plan.” (see attached

         exhibit).

23.      Loy continued to attend physical therapy throughout the month of September 2020,

         and made a swift recovery. (She also remarkably continued to attend her classes

         and complete her homework). As of October 1, 2020, Loy had made a complete

         recovery from the TIA stroke and had no lingering symptoms.

24.      Loy was treated and evaluated by the following physicians for her TIA stroke: Dr.

         Sandeep Chabra (cardiology), Dr. Garima Agrawal13 (neurology), and Dr. Kaitlyn

         Riggs (primary care physician). On or about October 1, 2020, all three of Loy’s

         doctors deemed her to be completely recovered from her TIA stroke symptoms,

         and cleared her to resume playing golf. At Erwin’s request, Loy met with WKU



13
   Dr. Agrawal provided Loy with a letter clearing her to resume all normal activities including golf. (See attached
exhibit). Although Loy was diagnosed with a TIA stroke in the emergency room, and her condition is referred to in
that manner throughout Loy’s medical records with Med Center Health, Dr. Agrawal, a neurologist, in a letter dated
July 6, 2021 (10 months after the stroke) described the condition as a “complicated migraine” with “prolonged aura”
and stated that Loy suffered from “stroke-like symptoms”. This letter was drafted by Dr. Agrawal for Loy to use in
support of her scholarship appeal. Apparently, a TIA stroke and “complicated migraine with aura” have similar
symptoms and are easily confused, even by highly trained medical professionals. See, e.g., the attached medical
record from WKU team doctor Abigail Debusk on 9/11/20 which identifies the incident as a TIA with “stroke-like
symptoms”. See also https://www.stroke.org.uk/sites/default/files/migraine_and_stroke.pdf (“Migraine auras can
be confused with transient ischaemic attack (TIA), where someone has stroke symptoms that pass in a short time.
For instance, a migraine with only a visual aura but no headache may be mistaken for TIA.”)
                                                        13
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      Sports Psychologist, Joey Case, who also cleared her to resume playing golf with

      the team. Loy relayed this information to Gary, Erwin, and Debusk on or about

      October 1, 2020, at an in-person meeting. Loy explained that she did not need any

      type of accommodations, that she had been cleared to play by all of her doctors,

      and that she was ready to resume full and normal participation with the golf team.

      The fall golf schedule was nearly over by that point, so Gary and Erwin told Loy it

      would be better for her to wait out the remainder of the fall semester and continue

      her recovery and she could start playing again in the spring, if her health permitted.

25.   On or about December 18, 2020, the WKU athletics department released a video

      which was posted on the school’s Twitter account and other social media telling

      the story of Loy’s stroke, her difficulties recovering, and praising her for her hard

      work to recover and outstanding academic achievement.                  Coach Gary

      “retweeted” the post, stating, “We’re so thankful to have @loylizzieg on our squad!”

      (See attached exhibit).

26.   On January 19, 2021, Loy met with Gary at his office. Gary told her that she was

      being cut from the team, effective immediately. Gary told Loy that she would

      continue to receive her scholarship for the remainder of the spring 2021 semester,

      but that the scholarship would not be renewed after that. Loy asked Gary why

      she was being cut from the team, and he replied, “With your health, I don’t know

      when you would even be able to play again.” Gary handed Loy a written form

      entitled, “Removal from Roster/Team Form”. (see attached). The form contains

      four boxes indicating the possible reasons a student can be removed from a team,

      but none of the boxes are checked. Below the boxes is a narrative section that

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      says, “Further comments or other explanation”. Gary left this section blank as

      well.

27.   On or about May 13, 2021, Loy received formal notice via email from WKU that

      her scholarship would not be renewed. (See attached exhibit). The email was

      followed up by a form letter dated May 19, 2021, advising her of the same. This

      form was signed by Defendant Gary, as well as Autumn Coleman (financial aid

      officer), Bryson Davis (chair of the scholarship committee), and an unknown

      (handwriting illegible) representative of the Director of Athletics. On May, 17, 2021,

      Loy timely filed a formal appeal of the decision to rescind/not renew her scholarship

      to the WKU scholarship committee per the procedure outlined in Schedule A of the

      Financial Aid Agreement she signed. (See attached exhibit). The stated basis of

      her appeal was that the decision not to renew her scholarship and to remove her

      from the golf team was because of her TIA stroke, and therefore, a violation of the

      ADA. On July 8, 2021, an in-person hearing was held on the WKU campus before

      the scholarship committee where Loy was represented by counsel and permitted

      to testify on her own behalf. Loy explicitly and specifically complained to the

      committee that she was being kicked off the golf team and was having her

      scholarship rescinded because of her stroke in violation of the ADA, and that she

      was being treated differently from all other similarly situated students because of

      her disability. Gary also testified before the committee and advocated that the

      decision to rescind and/or not renew Loy’s scholarship be upheld. Gary knew the

      basis upon which Loy was appealing because he was allowed to review Loy’s

      written appeal alleging disability discrimination, (email dated May 17, 2021, see

                                            15
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         attached exhibits). Gary denied these allegations before the committee.

28.      On August 9, 2021, the scholarship committee issued its formal and final ruling

         denying Loy’s appeal, and affirming the decision not to renew her athletic

         scholarship. (See attached exhibit). In support of its decision, the committee

         stated that because Loy had graduated, WKU had no obligation to renew her

         scholarship. On August 30, 2021, WKU Athletic Director Todd Stewart posted a

         “tweet” on Twitter stating, “Among all FBS14 Programs, @WKUFootball with the

         3rd most graduates on their 2021 roster!”

29.      On May 1, 2021, Loy graduated with her bachelor’s degree from WKU in

         Communication Sciences and Disorders. In the fall of 2021, she began working

         on her master’s degree in the WKU department of Speech-Language Pathology,

         and remains enrolled there as a full-time graduate student in good standing as of

         the time of this writing.

30.      WKU has adopted a “standards of conduct” policy specifically prohibiting its

         employees from committing, “Acts of unlawful discrimination including, but not

         limited to unlawful discrimination based upon race, creed, gender, age, religion,

         national origin, or disability status.”15 (See attached exhibit).




                         III.     PLAINTIFF’S SUPPORTING DOCUMENTATION

         The Plaintiff is in possession of the following documentation which corroborates


14
  FBS stands for the Division I Football Bowl Subdivision (FBS) of the NCAA.
15
  Although this policy is dated October 27, 1998, it is still in effect and binding upon current university employees.
See https://www.wku.edu/policies/docs/index.php?policy=148

                                                         16
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and supports the factual allegations set forth in paragraphs #1-30 above. The Plaintiff

hereby submits these items as attachments to the Complaint in support of her allegations

against the Defendant.


      31.    WKU 2019-20 women’s golf team roster bio page of Elizabeth “Lizzie” Loy.

             (EXHIBIT #1)

      32.    WKU Financial Aid Agreement & Athletic Scholarship Award for Elizabeth

             Loy, for the 2018-19 school year, signed 11/8/17 (EXHIBIT #2)

      33.    Renewal of WKU Financial Aid Agreement & Athletic Scholarship Award for

             Elizabeth Loy, for the 2019-20 school year, signed 5/7/19 (EXHIBIT #3)

      34.    Renewal of WKU Financial Aid Agreement & Athletic Scholarship Award for

             Elizabeth Loy, for the 2020-21 school year, signed 5/24/20 (EXHIBIT #4)

      35.    Schedule A to WKU Financial Aid Agreement (EXHIBIT #5)

      36.    Removal from Roster/Team Form, signed by Coach Adam Gary, 1/19/21

             (EXHIBIT #6)

      37.    2020-21 WKU Ladies Golf Team Rules (EXHIBIT #7)

      38.    Letter from Dr. Garima Agrawal, neurologist, 7/6/21 (EXHIBIT #8)

      39.    Medical Record from MCH Ortho & Sports Medicine, signed by Dr. Abigail

             Debusk, 9/11/20 (EXHIBIT #9)

      40.    Email of 5/13/21 of new financial aid offer and Notice of Non-Renewal of

             WKU Financial Aid Agreement & Scholarship Award for Elizabeth Loy,

             5/19/21 (EXHIBIT #10)

      41.    Email from Elizabeth Loy to WKU Senior Associate Athletic Director, John

             McCammon, giving formal notice of appeal of the non-renewal of Loy’s
                                          17
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          Financial Aid Package and Scholarship award, 5/17/21 (EXHIBIT #11)

    42.   Letter from W. Bryson Davis, chair of the WKU NCAA Athletic Scholarship

          Appeals Committee informing Elizabeth Loy that her appeal is formally

          denied and the decision not to renew her scholarship is affirmed, 8/9/21

          (EXHIBIT #12)

    43.   “Tweet” from WKU Athletic Director, Todd Stewart, 8/30/21 (EXHIBIT #13)

    44.   Summary of NCAA Eligibility Regulations Academic Year 2021-22.

          (EXHIBIT #14)

    45.   WKU Athletic Department “Tweets” 12/20/20 (EXHIBIT #15)

    46.   WKU Policy & Procedure Document, Standards of Conduct 10/27/98

          (EXHIBIT #16)



                             IV.    CAUSES OF ACTION

                 COUNT I – DISABILITY DISCRIMINATION
      IN VIOLATION OF TITLE II OF THE ADA, 42 U.S.C. §§ 12131 et seq
                       (DEFENDANT WKU ONLY)


    47.   The Plaintiff fully and completely restates and reincorporates the averments

          contained in paragraphs #1- #46 above as if fully set forth herein.

    48.   As a result of her TIA stroke, Loy suffered substantial impairment of several

          major life activities from August 28, 2020, until approximately October 1,

          2020. During this time period, Loy was unable either in full or in part to

          walk, speak, write, or use the bathroom on her own.         In addition, Loy

          remains at a heightened and ongoing risk of suffering future strokes.


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           49.     Loy was perceived and regarded by Gary, Erwin, and Debusk as having a

                   continuing and ongoing impairment that substantially limited one or more

                   major life activities. Evidence of this perception can be found in Gary’s

                   statement, “With your health, I don’t know when you would even be able to

                   play again.”   Evidence of this perception can also be found in Erwin’s

                   statement that Loy could not attend golf team practices because she would

                   be a “distraction” to the other players. Evidence of this perception can also

                   be found in Dr. Debusk’s comments in her medical notes of 9/11/20. (see

                   attached exhibit).

           50.     Loy was fully qualified to be a part of and remain on the WKU women’s golf

                   team and to continue to receive her athletic scholarship for her full period of

                   eligibility under NCAA rules.       Loy was a model student-athlete with a

                   perfect 4.0 grade point average, no history of disciplinary infractions, no

                   history of violations of team rules or policies, no history of violation of NCAA

                   rules, and outstanding athletic performance on the golf course. Further, as

                   the time of her termination from the team, Loy had been cleared by all of

                   her physicians to resume all normal life activities including competitive golf.

                   Additionally, Loy had at least three years of playing eligibility remaining

                   under NCAA rules, regardless of whether she was an undergrad or grad

                   student.16

           51.     WKU is a public university and a public entity that receives federal funds.




16
     See footnote #8 above.
                                                  19
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    52.   Loy was removed from the WKU golf team by Gary on January 19, 2021,

          and her athletic scholarship was not renewed and/or cancelled by WKU on

          May 19, 2021, with the decision being affirmed by the scholarship appeals

          committee on August 9, 2021, solely because of the disability described in

          paragraph #48 above and/or the perceived disability described in paragraph

          #49 above. Evidence of the motivation and purpose behind WKU’s action

          in this regard can be found in the close timing and sequence of events (TIA

          stroke on 8/28/20 followed by removal from the golf team on 1/19/21 and

          the scholarship renewal being denied on 5/19/21 and affirmed by the

          scholarship appeals committee on 8/9/21) as well as the statements of

          Gary, Erwin, and Debusk referenced in paragraphs #48-49 above. The

          reason offered as the explanation for the denial of the scholarship renewal

          by the scholarship appeals committee (that Loy had already completed her

          undergraduate studies, see attached exhibit), is a transparent pretext.

          Proof of this pretext can be found in the fact that two of Loy’s teammates

          continued to play for the golf team and receive scholarship benefits as

          graduate students (see paragraph #16 above) and in the tweet of Athletic

          Director Todd Stewart that WKU has the third most graduate students on

          its football team of any Division I school in the country.

    53.   Defendant Gary, as well as John Erwin (Athletic Trainer); Dr. Abigail Debusk

          (Team Physician); Bryson Davis, (Scholarship Appeal Committee Chair);

          John McCammon, (Senior Associate Athletic Director); Autumn Coleman,

          (Financial Aid Officer); Todd Stewart, (Athletic Director); Cindy Burnette,

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          (Financial Aid Officer), and Diana Marshall, (WKU Athletic Advisor), were

          all employees, agents, and/or ostensible agents of WKU during the time

          period of the allegations set forth herein. WKU is vicariously liable under

          the legal doctrine of respondeat superior for the tortious conduct, acts, and

          omissions of all individuals named in the preceding sentence, as well as all

          other employees, agents, or ostensible agents who were responsible for the

          decision to remove Loy from the golf team and to deny the renewal of her

          scholarship. The actions and decisions of the aforementioned individuals

          as set forth in the preceding paragraphs of this Complaint in regards to

          removing Loy from the golf team and not renewing her scholarship were

          intentional and made with deliberate indifference and conscious disregard

          of Loy’s rights. Evidence of this deliberate indifference and conscious

          disregard can be found in Gary’s statement that Loy could not play on the

          golf team anymore due to her health, and in the scholarship committee’s

          decision to uphold the denial of Loy’s athletic scholarship renewal, even

          after Loy had explicitly reported to them both orally in writing that she was

          the victim of disability discrimination.

    54.   Because of the discrimination suffered by Loy due to her disability and/or

          perceived disability, she incurred losses and damages, including three

          years’ worth of her scholarship valued at $30,765.00, mental anguish,

          embarrassment, and humiliation, and the loss of unknown revenue and




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                benefits she might have earned under new NCAA rules allowing a student

                athlete such as Loy to benefit from her name, image, and likeness.17



                   COUNT II – DISABILITY DISCRIMINATION
             IN VIOLATION OF THE RA, Section 504, 29 U.S.C. § 794
     (DEFENDANT WKU & DEFENDANT GARY, IN HIS OFFICIAL CAPACITY ONLY)


         55.    The Plaintiff fully and completely restates and reincorporates the averments

                contained in paragraphs #1- #54 above as if fully set forth herein.

         56.    The factual basis and legal underpinning of the Plaintiff’s RA claim is

                identical to that of her ADA claim. Accordingly, in the interest of judicial

                economy, the Plaintiff reiterates and repeats all averments of paragraphs

                48-54 as if fully repeated word-for-word here in support of her RA claim.



                          COUNT III – DISABILITY DISCRIMINATION
                        IN VIOLATION OF THE KCRA, KRS § 344.040
                                (DEFENDANT WKU ONLY)

         57.    The Plaintiff fully and completely restates and reincorporates the averments

                contained in paragraphs #1- #56 above as if fully set forth herein.

         58.    The factual basis and legal underpinning of the Plaintiff’s KCRA claim is

                identical to that of her ADA claim. Accordingly, the in interest of judicial

                economy, the Plaintiff reiterates and repeats all averments of paragraphs

                48-54 as if fully repeated word-for-word here in support of her KCRA claim.


17
   See https://www.cnbc.com/2021/07/01/how-college-athletes-can-make-money-according-to-new-ncaa-nil-
policy.html. As of July 1, 2021, student athletes in NCAA programs may monetize their name, image, and
likeness.

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                 COUNT IV – PROMISSORY ESTOPPEL
          (DEFENDANT GARY ONLY, IN HIS INDIVIDUAL CAPACITY)

    59.   The Plaintiff fully and completely restates and reincorporates the averments

          contained in paragraphs #1- #58 above as if fully set forth herein.

    60.   During all relevant times described in the preceding paragraph, Gary was

          an employee, agent, or ostensible agent of WKU with full and sole authority

          to offer students membership on the women’s golf team with athletic

          scholarships to support their play.       Gary was granted and delegated

          authority by WKU to enter contractual relationships with students to join the

          golf team.

    61.   On December 20, 2014, Gary made a verbal offer to Loy to attend WKU on

          a golf scholarship. The offer was made to Loy in person at the E.A. Diddle

          Basketball Arena on the WKU campus when Loy was visiting the school

          with her family on December 20, 2014. Gary explained to Loy and her

          parents that if Loy accepted his offer and came to play golf on the WKU

          women’s team, her scholarship would automatically be renewed each year

          Loy was eligible under NCAA rules, (four years plus a possible additional

          fifth year for a redshirt season or other extenuating circumstance as allowed

          by NCAA rules), and that the amount of scholarship money might be

          increased, but would never be decreased. Gary explicitly stated to Loy and

          her parents that the offer was for four years of eligibility, and never indicated

          that it was a year-by-year offer. Gary repeated this assurance numerous


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          times during his communications with Loy while she was in high school.

          Gary knew that this information was inaccurate, and that the true nature of

          the scholarship was that it could be rescinded at will by WKU on a year-by-

          year basis, with or without cause.

    62.   Loy verbally accepted the offer to attend WKU and play for the women’s

          golf team on September 10, 2015. Loy accepted the offer in person while

          meeting with Gary at the Olde Stone Golf Course in Bowling Green, where

          the WKU women’s golf team practices.

    63.   As part of this verbal agreement, Loy agreed not to apply to other schools

          besides WKU, and did not seek admission to any other college or university

          besides WKU. Gary knew and intended that his promise of a four-year

          scholarship would induce Loy not to seek admission to other universities or

          to play for any rival women’s golf teams. Gary’s promises about a four-

          year scholarship induced Loy to attend WKU and play for the WKU women’s

          golf team, and not to apply to any other schools. Loy ended discussions and

          rejected the recruiting efforts and offers for her to attend school and play

          golf for three rival teams in reliance on Gary’s promises. These teams

          included: Chris Adams at Middle Tennessee State University, Kim Goodin

          at Campbellsville University, and Eric Wyrick at Lindsey Wilson College.

    64.   As a result of the mutual promises exchanged by the parties, Loy did enroll

          at WKU and did play on the women’s golf team with a full athletic

          scholarship beginning in the fall semester of 2018. Loy played on the golf

          team with her full scholarship again in the 2019-20 season.

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    65.   On January 19, 2021, Gary broke his promise when he removed Loy from

          the golf team without cause. On May 19, 2021, Gary further broke his

          promise when he signed a notice of non-renewal of Loy’s scholarship

          without cause.

    66.   As a result of this broken promise, Loy suffered a financial loss in the

          amount of three years’ worth of her scholarship, valued at $30,765.00. Loy

          had three years-worth of playing and scholarship eligibility remaining under

          NCAA rules as detailed in footnote #8 above.

    67.   It is now too late for Loy to apply to other universities or try out for other

          college golf teams. She cannot go back to the coaches referenced in

          paragraph #63 above and ask them to put their offers from several years

          ago back on the table. She has already graduated from undergraduate

          school and exhausted two years-worth of NCAA playing eligibility. She

          cannot “redo” her freshman year or start her college golf career over.

          Denying her the last three years of her scholarship at this point in time

          creates an injustice that can only be remedied by enforcement of Gary’s

          promise.

    68.   Because of Gary’s broken promise about her automatic scholarship

          renewal, Loy has incurred both financial and emotional damages including

          three years’ worth of her scholarship valued at $30,765.00, as well as

          mental anguish, embarrassment, and humiliation.

    69.   Because Gary’s actions in inducing Loy to forego applications to other

          universities were willful and/or made with a reckless disregard for Loy’s

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          rights, and were intended to deceive Loy as to the guarantee that her

          scholarship would be automatically renewed for every year of her NCAA

          eligibility, the Plaintiff seeks punitive damages as to this count to discourage

          Gary and other similarly situated college athletic team coaches like him from

          engaging in such conduct in the future.




             COUNT V – NEGLIGENCE & GROSS NEGLIGENCE
          (DEFENDANT GARY ONLY, IN HIS INDVIDUAL CAPACITY)

    70.   The Plaintiff fully and completely restates and reincorporates the averments

          contained in paragraphs #1- #69 above as if fully set forth herein.

    71.   Defendant Gary owed the Plaintiff a duty of care to not violate her civil rights

          and to not discriminate against her because of her disability or perceived

          disability. This duty is set forth in federal law under 42 U.S.C. §§ 12131 et

          seq. and also pursuant to Kentucky state law under KRS § 344.040.

          Additionally, this duty is explicitly set forth in WKU’s standards of conduct

          policy. (See paragraph #30 above as well as attached exhibit).

    72.   Defendant Gary breached the duty described in paragraph #71 above when

          he removed Loy from the WKU women’s golf team without cause on

          January 19, 2021, and signed her scholarship non-renewal notice on May

          19, 2021. By his own admission, Gary’s sole reason for removing Loy from

          the team and rescinding her scholarship was due to her health.            (See

          paragraph #26 above). Gary took this action and excluded Loy from the


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          team, despite being explicitly informed that Loy had been medically cleared

          by all of her physicians to resume competitive golf. (See paragraph #24

          above.)

    73.   As a result of Gary’s actions, Loy incurred losses and damages, including

          three years’ worth of her scholarship valued at $30,765.00, mental anguish,

          embarrassment, and humiliation, and the loss of unknown revenue and

          benefits she might have earned under new NCAA rules allowing a student

          athlete such as Loy to benefit from her name, image, and likeness.

    74.   When making the decision to eliminate Loy from the WKU Women’s Golf

          Team and to rescind and/or not renew her athletic scholarship, Defendant

          Gary failed to exercise reasonable care, in that he made no effort

          whatsoever to investigate or consider whether his actions were violative of

          the Loy’s civil rights under the ADA and KCRA, even after this specific claim

          was brought to attention through Loy’s scholarship appeal proceedings.

          (See paragraph #27 above).

    75.   Gary’s decisions and actions as described in paragraphs #71 and #72

          above, as well as all of the other averments of the present complaint were

          made intentionally, with a wanton or reckless or malicious disregard for

          Loy’s rights. Accordingly, Gary’s behavior was grossly negligent and the

          Plaintiff seeks punitive damages as to this count to discourage Gary and

          other similarly situated college athletic team coaches like him from engaging

          in such conduct in the future.



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                            V.     PRAYER FOR RELIEF

    WHEREFORE, the Plaintiff demands the following:

          1.    A trial by jury on all issues so triable in accordance with Federal Rule

                of Civil Procedure 38;

          2.    Injunctive relief restoring her full athletic scholarship for her

                remaining three years of NCAA eligibility and restoration of her place

                on the WKU women’s golf team;

          3.    Judgment in favor of the Plaintiff against the Defendant on her ADA,

                RA, and KCRA claims including lost scholarship money, damages

                for mental anguish, embarrassment, humiliation, pain and suffering,

                and all other relief available under federal and state law, including a

                reasonable fee for her attorneys;

          4.    All compensatory and punitive damages allowed by the common law

                of Kentucky for the Plaintiff’s claims of negligence, gross negligence,

                and promissory estoppel;

          5.    Pre- and post-judgment interest as allowed by federal and state law;

          6.    Any and all other relief to which the Plaintiff may otherwise be

                properly entitled under the laws and regulations of the United States

                and/or the Commonwealth of Kentucky.




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                                  Respectfully submitted,


                                  /s/Andrew S. Epstein
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